    Case 1:06-cv-00237-RWR   Document 7   Filed 06/15/2006   Page 1 of 2



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

____________________________
                             )
DISNEY ENTERPRISES,          )
INC. et al.,                 )
                             )
           Plaintiffs,       )
                             )
       v.                    )      Civil Action No. 06-237 (RWR)
                             )
DOES 1-21,                   )
                             )
           Defendants.       )
____________________________ )

                   NOTICE AND ORDER TO SHOW CAUSE

     Plaintiffs filed this case on February 9, 2006.           Federal

Rule of Civil Procedure 4(m) authorizes a court to dismiss an

action against a defendant upon proper notice where the plaintiff

has not accomplished service of the summons and complaint on a

defendant within one hundred twenty days of filing suit.            It

appearing that plaintiffs have failed to serve defendants Does 1-

21 as required by Rule 4, it is hereby

     ORDERED that on or before June 26, 2006, plaintiffs shall

either present evidence of service on defendants Does 1-21 or

show cause why the case should not be dismissed for failure to

effect service on defendants.     Plaintiffs are advised that

failure to comply will result in dismissal of this case against

the defendants.
Case 1:06-cv-00237-RWR   Document 7   Filed 06/15/2006   Page 2 of 2



                             - 2 -

 SIGNED this 15th day of June, 2006.


                                           /s/
                                RICHARD W. ROBERTS
                                United States District Judge
